       Case 2:16-cv-01443-AKK Document 143 Filed 05/03/22 Page 1 of 1                     FILED
                                                                                 2022 May-03 PM 03:46
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                 UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      SOUTHERN DIVISION

BLACK WARRIOR RIVER-                     )
KEEPER, INC.,                            )
                                         )
      Plaintiff,                         )    Civil Action Number
                                         )    2:16-CV-01443-AKK
v.                                       )
                                         )
DRUMMOND COMPANY, INC.,                  )
                                         )
      Defendant.

                                    ORDER

     Based on the parties’ representation that they have settled this case, the court

STAYS the remaining pretrial deadlines and CANCELS the trial date set for May

9, 2022. The court ORDERS the parties to provide the court with the proposed

Consent Decree by May 18, 2022.

     DONE the 3rd day of May, 2022.


                                      _________________________________
                                               ABDUL K. KALLON
                                        UNITED STATES DISTRICT JUDGE
